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 JLoCicero@aclu-nj.org

 Counsel for Petitioner

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,                          Case No. 2:25-cv-01963
                                           (MEF)(MAH)
        Petitioner,

  v.                                       CERTIFICATION OF BRIAN
                                           HAUSS IN SUPPORT OF
  WILLIAM JOYCE ET AL.,                    APPLICATION FOR ADMISSION
                                           PRO HAC VICE PURSUANT TO
        Respondent.                        LOCAL CIVIL RULE 101.1




       I, Brian Hauss, hereby certify the following:

       1.    I am an attorney at the American Civil Liberties Union Foundation

 (“ACLU”). I have been requested to represent Petitioner in this matter.
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         2.    I am a member in good standing of the New York State bar as of

 2016.

    3. I am also admitted to practice before the following courts:



          Court                                  Year of             Attorneys
                                                 Admission           Rolls
                                                                     Maintained
                                                                     By:
          New York State Appellate Division,     2016                Supreme
          Second Department                                          Court, State
                                                                     of New York
                                                                     Appellate
                                                                     Division,
                                                                     Second
                                                                     Department
                                                                     45 Monroe
                                                                     Place
                                                                     Brooklyn,
                                                                     NY 11201
          California Supreme Court               2012 (inactive)     350
                                                                     McAllister
                                                                     Street
                                                                     San
                                                                     Francisco,
                                                                     CA 94102-
                                                                     4797
          U.S. Supreme Court                     2016                1 First
                                                                     Street, NE
                                                                     Washington,
                                                                     DC 20543
          U.S. Court of Appeals for the First    2021                John Joseph
          Circuit                                                    Moakley
                                                                     U.S.
                                                                     Courthouse
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                                                                1 Courthouse
                                                                Way, Suite
                                                                2500
                                                                Boston, MA
                                                                02210
       U.S. Court of Appeals for the         2020               Thurgood
       Second Circuit                                           Marshall
                                                                United States
                                                                Courthouse
                                                                40 Foley
                                                                Square
                                                                New York,
                                                                New York
                                                                10007
       U.S. Court of Appeals for the Third   2018               United States
       Circuit                                                  Court of
                                                                Appeals for
                                                                the Third
                                                                Circuit
                                                                21400 U.S.
                                                                Courthouse
                                                                601 Market
                                                                Street
                                                                Philadelphia,
                                                                PA 19106-
                                                                1790
       U.S. Court of Appeals for the Fourth 2021                Lewis F.
       Circuit                                                  Powell Jr.
                                                                Courthouse
                                                                & Annex
                                                                1100 East
                                                                Main Street,
                                                                Suite 501
                                                                Richmond,
                                                                VA 23219
       U.S. Court of Appeals for the Fifth   2019               United States
       Circuit                                                  Court of
                                                                Appeals
                                                                Fifth Circuit
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                                                                Office Of the
                                                                Clerk
                                                                F. Edward
                                                                Hebert
                                                                Building
                                                                600 S.
                                                                Maestri
                                                                Place
                                                                New
                                                                Orleans, LA
                                                                70130-3408
       U.S. Court of Appeals for the Eighth 2019                Thomas F.
       Circuit                                                  Eagleton
                                                                Courthouse
                                                                111 South
                                                                10th Street
                                                                Room 24.329
                                                                St. Louis,
                                                                MO. 63102
       U.S. Court of Appeals for the Ninth   2018               The James R.
       Circuit                                                  Browning
                                                                Courthouse
                                                                95 7th Street
                                                                San
                                                                Francisco,
                                                                CA 94103
       U.S. Court of Appeals for the Tenth   2023               Byron White
       Circuit                                                  Court House
                                                                1823 Stout
                                                                Street
                                                                Denver, CO
                                                                80257
       U.S. Court of Appeals for the         2021               Elbert P.
       Eleventh Circuit                                         Tuttle
                                                                Courthouse
                                                                56 Forsyth
                                                                Street, N.W.
                                                                Atlanta, GA
                                                                30303
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       U.S. District Court for the District    2024               333
       of Columbia                                                Constitution
                                                                  Avenue
                                                                  N.W.
                                                                  Washington
                                                                  D.C. 20001
       U.S. District Court for the Northern    2016               Phillip
       District of California                                     Burton
                                                                  Federal
                                                                  Building
                                                                  & United
                                                                  States
                                                                  Courthouse
                                                                  450 Golden
                                                                  Gate Avenue
                                                                  San
                                                                  Francisco,
                                                                  CA 94102
       U.S. District Court for the Eastern     2016               Theodore
       District of Michigan                                       Levin U.S.
                                                                  Courthouse
                                                                  231 W.
                                                                  Lafayette
                                                                  Blvd., Room
                                                                  599
                                                                  Detroit, MI
                                                                  48226
       U.S. District Court for the Southern    2016               500 Pearl
       District of New York                                       Street, New
                                                                  York, NY
                                                                  10007
       U.S. District Court for the Northern    2016               United States
       District of Texas                                          District
                                                                  Court
                                                                  1100
                                                                  Commerce
                                                                  Street, Room
                                                                  1452
                                                                  Dallas, TX
                                                                  75242
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        U.S. District Court for the District        2017                William L.
        of North Dakota                                                 Guy Federal
                                                                        Bldg.
                                                                        U.S.
                                                                        Courthouse
                                                                        220 East
                                                                        Rosser Ave.
                                                                        #476
                                                                        Bismarck
                                                                        ND 58501-
                                                                        3869


       4.      No professional disciplinary proceedings are pending against me in

 any jurisdiction and no professional discipline has previously been imposed on

 me in any jurisdiction.

       5.      In the event I am admitted pro hac vice, I agree to:

            a. Make payment to the New Jersey Lawyer’s Fund for Client

               Protection as provided by New Jersey Court Rule 1:28-2(a) for each

               year in which I represent Petitioner in this matter;

            b. Abide by the Rules of this Court, including any relevant disciplinary

               rules;

            c. Notify this Court immediately of any matters affecting my standing

               at the Bar of any other Court; and

            d. Have all pleadings, briefs, and other papers filed with the Court

               signed by an attorney of record authorized to practice in the United

               States District Court for the District of New Jersey.
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       6.     In view of the foregoing, I respectfully request that I be admitted

 pro hac vice.

 Pursuant to 28 U.S.C. § 1746, I affirm under penalty of perjury that the above

 statements are true and correct.




  Dated: March 21, 2025                         Respectfully Submitted,
                                                /s/Brian Hauss
                                                Brian Hauss
                                                American Civil Liberties
                                                Union Foundation
                                                125 Broad St., 18th Fl.,
                                                New York, NY 10004
                                                Tel: (212) 549-2500
                                                bhauss@aclu.org
